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FLED
lN THE UNlTED STATES DISTRICT COURT

IN AND FoR THE MIDDLE DisTRlcT oFg§Hq_RPéx
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ERICKA MlLLER, ' z , , ,.
Plaintiff,

_VS_

RENT-A-CENTER EAsT, INC.

CASENO.; `3‘.\'-{ C/\/ `>f“(';"\} nme

Defendant.

COMPLAINT
Plaintiff, ERICKA MlLLER, by and through her undersigned counsel, sues the
Defendant, RENT-A-CENTER EAST, INC. and in support thereof respectfully alleges the
following:
l. Plaintiff alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et
seq. (“TCPA”) and the Florida Consumer Collections Practices Act, Chapter 559, et seq.

("FCCPA”).

l|URISDICTION AND VENUE

2. This is an action for damages exceeding Fifteen Thousand Dollars ($15,000.00) exclusive
of attomey’s fees and cost.

3. Jurisdiction and venue for purposes of this action are appropriate and conferred by 47
U.S.C. §227(b)(3), 47 U.S.C. §227(0)(5), and F.S.§ 47.011.

4. Venue is proper in this District because the Plaintiff resides in this District (Hillsborough

County) and the Defendant transacts business in Hillsborough County, Florida.

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FACTUAL ALLEGATIONS
5. Plaintiff is a natural person, and citizen of the State of Florida, residing in Hillsborough
County, Florida.
6. Defendant is a corporation and a citizen of the State of Delaware with its principal place

of business at 5501 Headquarters Drive, Plano, Texas.

7. The conduct of Defendant which gives rise to the cause of action herein alleged occurred
in this District, Hillsborough County, Florida. '

8. Defendant, at all times material, was attempting to collect on an account and/or was
making calls on an account of Plaintiff’s Agreement Number ending in 5253 (hereinafter the
“subject account”).

9. Defendant knowingly and/or willfully harassed and abused Plaintiff on numerous
occasions by calling Plaintiff’s cellular telephone number two (2) times a day from January,
2013 through July, 2013, and up to six (6) times a day from August, 2013 through January, 2014,
with such frequency as can reasonably be expected to harass, all in an effort related to the
collection of the subject account.

10. Upon information and belief, some or all of the calls the Defendant made to the Plaintiff
was made using an “automatic telephone dia|ing system” which has the capacity to store or
produce telephone numbers to be called, using a random or sequential number generator
(including, but not limited to, a predictive dialer) or an artificial or prerecorded voice; and to dial
such numbers as specified by 47 U.S.C §227(a)(l) (hereinafter “autodialer calls”) as each time
Plaintiff answered one of Defendant’s calls an automated or prerecorded message would
immediately begin to play, and in a completely different artificial and/or prerecorded voice

another voice would give the telephone number Plaintiff was to return the telephone call to.
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11. Each of the autodialer calls the Defendant made to the Plaintiff`s cellular telephone
number after April, 2013, was done so without the “prior expressed consent" of the Plaintif`f.

12. ln approximately January, 2013, Plaintiff began receiving autodialer calls from
Defendant on her cellular telephone number, (813) 504-6997, concerning the subject account.

13. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number, (813)
504-6997, and was the called party and recipient of Defendant’s autodialer calls.

14. The autodialer calls from Defendant came from telephone numbers which included, but
are not limited to: 813-988-0291, 813-988-5115, 813-988-5116, 813-988-6()06, and 813-777-
6822.

15. After receiving these autodialer calls beginning in January, 2()13, from Defendant,

Plaintiff went to Defendant’s place of` business on April 20, 2013 and spoke with a representative

of Defendant and told Defendant to stop sending her threatening texts and to stop calling her

cellular telephone number repeatedly.

16. Despite informing Defendant to stop calling her, the Defendant’s autodialer calls to
Plaintiff’s cellular phone continued.

17. The autodialer calls from Defendant continued approximately, on average, one (1) to two
(2) times a day from January, 2013, until approximately July, 2013 and then up to six (6) times a
day from August, 2013 through to January, 2014. Defendant has, or should be in possession
and/or control of call logs, account notes, autodialer reports and/or other records that detail the
exact number of autodialer calls made to Plaintiff over the relevant time period.

18. While Plaintiff did not keep detailed records of all the autodialer calls made by Defendant
to Plaintiff’s cellular telephone number, attached hereto as Exhibit “A” is a true and correct

copy of some of Defendant’s autodialer call frequency for the period of September 13, 2013
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through December 19, 2013, showing approximately one hundred twenty-three (123) autodialer
calls to Plaintiff’s cellular telephone over that period of time.

19. The Defendant has a corporate policy to use an automatic telephone dialing system or a
pre-recorded or artificial voice, and to make autodialer calls just as they did to the Plaintist
cellular telephone in this case, with no way for the called party and recipient of the calls, or the
Defendant, to be removed from the Defendant’s call list.

20, Despite actual knowledge of their wrongdoing, the Defendant continued the campaign of
autodialer calls, well-beyond April 20, 2013, when Plaintiff first advised Defendant to stop
calling Plaintiff.

21. Defendant’s corporate policy is structured as to continue to call individuals like the
Plaintiff, despite the individual, like Plaintiff, advising Defendant to stop calling their cellular
telephone number,

22. Defendant’s corporate policy provided no means for the Plaintiff to have her cellular
number removed from the call list, or otherwise permit the cessation of and/or suppression of
calls to Plaintiff.

23. Defendant knowingly employed methods and/or has a corporate policy designed to harass
and abuse individuals and has set up their autodialer in a manner which makes it virtually
impossible for the autodialer calls to stop.

24. Defendant knowingly employed methods that did not permit the cessation of or
suppression of autodialer calls to the Plaintiff’s cellular telephone.

25. Plaintiff did not expressly consent to Defendant’s placement of autodialer calls to
Plaintiff’s cellular telephone by the use of an automatic telephone dialing system or the use of an

artificial or prerecorded voice prior to Defendant’s placement of the calls after April, 20, 2013.
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26. Due to Defendant’s constant autodialer calls and demands for payment and/or demands
for location information for individuals other than Plaintiff, Plaintiff has suffered statutory and
actual damages in the form of emotional distress, frustration, worry, anger, and/or loss of
capacity to enjoy life.

COUNT l
(Violation of the TCPA)

27. Plaintiff re~alleges and incorporates Paragraphs one (1) through twenty-six (26) above as
if fully stated herein.
28. None of Defendant’s autodialer calls placed to Plaintiff were for “emergency purposes”
as specified in 47 U.S.C. §227(b)(l)(A).
29. Defendant willfully and/or knowingly violated the TCPA with respect to the Plaintiff,
especially for each of the autodialer calls made to Plaintist cellular telephone after Plaintiff
notified Defendant in April, 2013, to stop calling Plaintiff’s cellular telephone number,
30. Defendant repeatedly placed non-emergency telephone calls to Plaintiff`s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, actual damages, treble damages, costs,
interest, and any other such relief the court may deem just and proper.

COUNT ll
(Violation of the Florida Consumer Col|ection Practices Act “FCCPA”)

31. Plaintiff re-alleges paragraphs one (1) through twenty-six (26) above as if fully stated

herein:

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32. At all times relevant to this action Defendant is subject to and must abide by the law of

Florida, including Florida Statute § 559.72.

33. Plaintiff is an alleged “debtor” and/or “consumer” pursuant to F.S. §559.55(2) as

Defendant, per its conduct in continuing to call Plaintiff on the subject account despite knowing

that Plaintiff was not its actual debtor, engaged in conduct that could only be construed as

alleging that Plaintiff was obligated to pay said debt.

34. Defendant has violated Florida Statute §559.72(7) by willfully communicating with the

Plaintiff, an alleged debtor, with such frequency as can be reasonably be expected to harass the

debtor,

35. Defendant has violated Florida Statute §559.72(7) by willfully engaging in other conduct

which can reasonably be expected to abuse the Plaintiff, an alleged debtor.

36. Defendant has violated Florida Statute §559.72(7) by willfully calling and

communicating with the Plaintiff with such frequency as can reasonably be expected to abuse the

Plaintiff.

37. Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of actual and statutory damages as described by Florida Statute §559.77.
WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, actual damages for emotional and mental

pain and suffering, fear, humiliation, embarrassment, frustration and loss of capacity for the

enjoyment of life, costs, interest, attomey’s fees pursuant to F.S. §559.77, and any other such

relief the court may deem just and proper.

 

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Respectfully submitted,

 

 

   

. Vitoria, Esquire
Fl rida Bar # 0135534
Morgan & Morgan, Tampa, P.A.
201 N. Franklin Street, 7th Floor
Tampa, FL 33602

Tele: (813) 223-5505

Fax: (813) 223-5402
MVitoria@forthepeople.com

afloyd@forthepeople.com
Attorney for Plaintiff

